
SCHWARTZ, Chief Judge.
We conclude that the appeals referee’s findings concerning the appellant’s contentious and argumentative refusal to perform the work assigned him justified the determination that he was discharged for misconduct and therefore ineligible for unemployment compensation benefits. See Kraft, Inc. v. Florida Unemployment Appeals Comm’n, 478 So.2d 1183 (Fla. 2d DCA 1985); Hines v. Department of Labor &amp; Employment Sec., 455 So.2d 1104 (Fla. 3d DCA 1984); Citrus Central v. Detwiler, 368 So.2d 81 (Fla. 4th DCA 1979).
Affirmed.
